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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

DYLAN BRANDT, et al.,                                                                   PLAINTIFFS,

v.                                   No. 4:21-CV-00450-JM

LESLIE RUTLEDGE, et al.,                                                              DEFENDANTS.


                     DEFENDANTS’ MOTION TO EXCLUDE PLAINTIFFS’
     EVIDENTIARY DEPOSITION DESIGNATIONS OF REPRESENTATIVE ROBIN LUNDSTRUM AND
                           INCORPORATED BRIEF IN SUPPORT

        Defendants, through counsel, for their Motion to Exclude Plaintiffs’ Evidentiary

Deposition Designations of Representative Robin Lundstrum and Incorporated Brief in Support,

hereby state as follows:

        1.      This is an action challenging Act 626 of 2021 (the “SAFE Act”). The case is set for

trial commencing October 17, 2022. (See Amended Final Scheduling Order, Doc. 99).

        2.      Discovery in this matter closed on May 26, 2022. Pursuant to this Court’s order,

Plaintiffs conducted two depositions after the close of discovery, including the deposition of

Representative Robin Lundstrum.

        3.      Pursuant to the parties’ agreement, on July 26, 2022, Plaintiffs served Defendants

with deposition designations for trial, a true and correct copy of which is attached hereto as Exhibit

“A” and incorporated herein by reference.

        4.      In the document served upon Defendants, Plaintiffs designated portions of the

testimony Rep. Robin Lundstrum, who is currently an Arkansas State Representative for the 87th

District.

        5.      Pursuant to the parties’ agreement, on August 2, 2022, Defendants made counter-

designations to additional portions of Rep. Lundstrum’s deposition testimony that should be read
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and admitted into evidence at trial if the Court permits her to testify via deposition. Defendants’

counter-designations were made subject to and without waiving any objections. A true and correct

copy of Defendants’ counter-designations is attached hereto as Exhibit “B” and incorporated

herein by reference.

       6.      The parties also mutually agreed Defendants would have two weeks after receipt of

Plaintiffs’ deposition designations to submit their objections. Defendants now submit their

objections to Plaintiffs’ deposition designations of Rep. Lundstrum.

       7.      There is no relevant purpose for the introduction of Rep. Lundstrum’s testimony,

through live testimony or deposition designation. In fact, this Court has at no point determined that

her testimony is relevant.

       8.      Only relevant evidence is admissible under the Federal Rules of Evidence. Fed. R.

Evid. 402. Evidence is relevant if it has any tendency to make a fact more or less probable than it

would be without the evidence, and the fact is of consequence in determining the action. Fed. R.

Evid. 401(a)–(b).

       9.      Rep. Lundstrum, a sitting legislator, is entitled to legislative privilege from having

to testify as to the actions she took in the sphere of her legislative activities, and she has briefed

the issue extensively. 1 The privilege applies whether in a deposition or at trial. Notably, Rep.

Lundstrum’s deposition transcript reveals that Plaintiffs attempted to ask numerous questions as

to her legislative activities, which were met with proper objections.

       10.     Not only did Plaintiffs seek to force Rep. Lundstrum to waive her privilege,

Plaintiffs made multiple incomplete designations in violation of Rule 106, and Defendants have



1
 Defendants incorporate the arguments made by Rep. Lundstrum in her Motion to Quash and for
Protective Order (Doc. 119) and accompanying Brief in Support (Doc. 120) as if restated herein
word for word, pursuant to Rule 10(c) of the Federal Rules of Civil Procedure.
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accordingly lodged objections to the incomplete designations below. See Fed. R. Evid. 106. The

questions posed to Rep. Lundstrum demonstrate a blatant attempt to piecemeal her testimony and

extract unreliable soundbites that, even when complete, are irrelevant.

       11.       Plaintiffs also designated questions and answers that were intended to harass and

unduly embarrass Rep. Lundstrum, in violation of Rule 610 and 611. These attempts are ultimately

an attempt to illicit irrelevant testimony. The deposition designations, therefore, do not comply

with Rules 401, 402, 610, and 611 and cannot fairly be presented to the Court. Examples of the

improper questions include, but are not limited to:

             •   Whether Rep. Lundstrum believes “gay and lesbian people can through therapy

                 come to live heterosexual lives” (Rep. Lundstrum Depo. 246:8–246:13);

             •   Whether Rep. Lundstrum believes “it is necessary to stand up for Biblical

                 principles” (Rep. Lundstrum Depo. 74:6–74:10);

             •   Rep. Lundstrum’s comments on a corporation or its owners that has no bearing on

                 this litigation (Rep. Lundstrum Depo. 229:1–230:18);

             •   Vague and overbroad questions regarding whether Rep. Lundstrum has had

                 “discussions with other members of the Arkansas General Assembly,” despite Rep.

                 Lundstrum testifying that she has had a “variety of discussions,” and they “talk

                 about a variety of different things” (Rep. Lundstrum Depo. 203:11–208:6);

             •   Rep. Lundstrum’s views on the separation of church and state (Rep. Lundstrum

                 Depo. 79:18–80:10); and

             •   Whether Rep. Lundstrum would “have a religious objection to gender transition

                 regardless of ‘what the research showed?’” (Rep. Lundstrum Depo. 242:25–

                 243:18).


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         12.       As noted previously in Defendants’ Motion in Limine (Doc. 164), testimony

regarding a witness’s personal beliefs, including their religious views, is inadmissible evidence

under Rule 610 of the Federal Rules of Evidence. Plaintiffs cannot meet the narrow exception to

this rule. These questions are meant solely to harass and unduly embarrass Rep. Lundstrum.

         13.       Because Plaintiffs cannot present any Rule of Evidence under which Rep.

Lundstrum’s testimony is admissible, this Court should exclude her testimony in its entirety.

         14.       To the extent this Court determines that any testimony on the part of Rep.

Lundstrum is admissible, Defendants respectfully move this Court to exclude certain portions of

Plaintiffs’ deposition designations. In the chart below, Defendants set forth their objections to the

use of certain portions of Rep. Lundstrum’s deposition testimony. Defendants have provided the

specific objection and legal basis supporting exclusion. In the event the designations are permitted

and presented at trial, Defendants ask that the testimony be limited pursuant to the following

objections:

 Page          Line        Page     Line    Objection
 Start         Start       End      End
 18            13          18       16      No objection.

 22            19          22       22      Object to lines 22:19–22:22 as to relevance under
                                            Rules 401 and 402.

                                            Object to lines 22:19–22:22 due to designating
                                            incomplete testimony under Rule 106.

 23            1           23       17      Object to lines 23:1–23:17 as to relevance under
                                            Rules 401 and 402.

                                            Object to lines 23:1–23:17 due to designating
                                            incomplete testimony under Rule 106.

 25            19          26       9       Object to lines 25:19–26:9 as to relevance under
                                            Rules 401 and 402.




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Page      Line      Page   Line   Objection
Start     Start     End    End
                                  Object to lines 25:19–26:9 due to designating
                                  incomplete testimony under Rule 106.

27        10        27     15     Object to lines 27:10–27:15 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 27:10–27:15 due to designating
                                  incomplete testimony under Rule 106.

28        15        29     5      Object to lines 28:15–29:5 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 28:15–29:5 due to designating
                                  incomplete testimony under Rule 106.

                                  Object to lines 28:15–29:5 pursuant to Rule 611 to
                                  protect witness from harassment, and outside the
                                  scope of Rule 610.

30        10        32     5      Object to lines 30:10–32:5 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 30:10–32:5 due to designating
                                  incomplete testimony under Rule 106.

32        21        32     24     Object to lines 31:21–32:24 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 31:21–32:24 due to designating
                                  incomplete testimony under Rule 106.

33        8         33     14     Object to lines 33:8–33:14 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 33:8–33:14 due to designating
                                  incomplete testimony under Rule 106.

33        20        33     22     Object to lines 33:20–33:22 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 33:20–33:22 due to calling for
                                  speculation under Rule 602.



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Page      Line      Page   Line   Objection
Start     Start     End    End
33        24        34     4      Object to lines 33:24–34:4 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 33:24–34:4 due to calling for
                                  speculation under Rule 602.

46        7         47     4      Object to lines 46:7–47:4 as to relevance under Rules
                                  401 and 402.

                                  Object to lines 46:7–47:4 due to calling for
                                  speculation under Rule 602.

                                  Object to lines 46:7–47:4 due to designating
                                  incomplete testimony under Rule 106.

48        21        48     24     Object to lines 48:21–48:24 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 48:21–48:24 due to designating
                                  incomplete testimony under Rule 106.

49        5         49     15     Object to lines 49:5–49:15 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 49:5–49:15 due to calling for
                                  speculation under Rule 602.

                                  Object to lines 49:5–49:15 due to designating
                                  incomplete testimony under Rule 106.

49        20        49     22     Object to lines 49:20–49:22 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 49:20–49:22 due to calling for
                                  speculation under Rule 602.

                                  Object to lines 49:20–49:22 due to designating
                                  incomplete testimony under Rule 106.

50        9         50     10     Object to lines 50:9–50:10 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 50:9–50:10 due to calling for
                                  speculation under Rule 602.

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Page      Line      Page   Line   Objection
Start     Start     End    End

                                  Object to lines 50:9–50:10 due to designating
                                  incomplete testimony under Rule 106.

50        16        50     20     Object to lines 50:16–50:20 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 50:16–50:20 due to calling for
                                  speculation under Rule 602.

                                  Object to lines 50:16–50:20 due to designating
                                  incomplete testimony under Rule 106.

50        23        51     4      Object to lines 50:23–51:4 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 50:23–51:4 due to designating
                                  incomplete testimony under Rule 106.

51        15        51     23     Object to lines 51:15–51:23 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 51:15–51:23 due to designating
                                  incomplete testimony under Rule 106.

52        5         52     17     Object to lines 52:5–52:17 as to relevance under
                                  Rules 401 and 402.

53        5         53     9      Object to lines 53:5–53:9 as to relevance under Rules
                                  401 and 402.

                                  Object to lines 53:5–53:9 due to designating
                                  incomplete testimony under Rule 106.

60        18        60     21     Object to lines 60:18–60:21 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 60:18–60:21 due to designating
                                  incomplete testimony under Rule 106.

62        13        63     10     Object to lines 62:13–63:10 as to relevance under
                                  Rules 401 and 402.



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Page      Line      Page   Line   Objection
Start     Start     End    End
                                  Object to lines 62:13–63:10 due to calling for
                                  speculation under Rule 602.

                                  Object to lines 62:13–63:10 due to designating
                                  incomplete testimony under Rule 106.

64        7         64     15     Object to lines 64:7–64:15 as to relevance under
                                  Rules 401 and 402.

65        11        65     14     Object to lines 65:11–65:14 as to relevance under
                                  Rules 401 and 402.

67        12        67     16     Object to lines 67:12–67:16 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 67:12–67:16 due to designating
                                  incomplete testimony under Rule 106.

67        22        68     3      Object to lines 67:22–68:3 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 67:22–68:3 due to designating
                                  incomplete testimony under Rule 106.

68        19        68     24     Object to lines 68:19–68:24 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 68:19–68:24 due to designating
                                  incomplete testimony under Rule 106.

70        8         70     14     Object to lines 70:8–70:14 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 70:8–70:14 due to calling for
                                  speculation under Rule 602.

                                  Object to lines 70:8–70:14 due to designating
                                  incomplete testimony under Rule 106.

71        2         71     8      Object to lines 71:2–71:8 as to relevance under Rules
                                  401 and 402.

                                  Object to lines 71:2–71:8 due to designating
                                  incomplete testimony under Rule 106.

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Page      Line      Page   Line   Objection
Start     Start     End    End

73        13        73     21     Object to lines 73:13–73:21 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 73:13–73:21 due to designating
                                  incomplete testimony under Rule 106.

                                  Object to lines 73:13–73:21 pursuant to Rule 611 to
                                  protect witness from harassment, and outside the
                                  scope of Rule 610.

74        6         74     10     Object to lines 74:6–74:10 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 74:6–74:10 pursuant to Rule 611 to
                                  protect witness from harassment, and outside the
                                  scope of Rule 610.

74        16        74     25     Object to lines 74:16–74:25 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 74:16–74:25 due to calling for
                                  speculation under Rule 602.

                                  Object to lines 74:16–74:25 due to designating
                                  incomplete testimony under Rule 106.

76        18        77     22     Object to lines 76:18–77:22 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 76:18–77:22 due to designating
                                  incomplete testimony under Rule 106.

78        8         78     12     Object to lines 78:8–78:12 as to relevance under
                                  Rules 401 and 402.

79        18        79     18     Object to lines 79:18–79:18 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 79:18–79:18 due to designating
                                  incomplete testimony under Rule 106.




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Page       Line     Page    Line    Objection
Start      Start    End     End
                                    Object to lines 79:18–79:18 pursuant to Rule 611 to
                                    protect witness from harassment, and outside the
                                    scope of Rule 610.

80         5        80      10      Object to lines 80:5–80:10 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 80:5–80:10 due to designating
                                    incomplete testimony under Rule 106.

                                    Object to lines 80:5–80:10 pursuant to Rule 611 to
                                    protect witness from harassment, and outside the
                                    scope of Rule 610.


97         2        97      10      Object to lines 97:2–97:10 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 97:2–97:10 due to designating
                                    incomplete testimony under Rule 106.

98         3        99      24      Object to lines 98:3–99:24 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 98:3–99:24 due to designating
                                    incomplete testimony under Rule 106.

107        11       107     18      Object to lines 107:11–107:18 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 107:11–107:18 due to calling for
                                    speculation under Rule 602.

                                    Object to lines 107:11–107:18 due to designating
                                    incomplete testimony under Rule 106.

108        1        108     4       Object to lines 108:1–108:4 as to relevance under
                                    Rules 401 and 402.

108        8        109     14      Object to lines 108:8–109:14 as to relevance under
                                    Rules 401 and 402.

116        17       116     22      Object to lines 116:17–116:22 as to relevance under
                                    Rules 401 and 402.

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Page       Line     Page    Line    Objection
Start      Start    End     End

                                    Object to lines 116:17–116:22 due to designating
                                    incomplete testimony under Rule 106.

118        24       119     1       Object to lines 118:24–119:1 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 118:24–119:1 due to designating
                                    incomplete testimony under Rule 106.

119        10       119     23      Object to lines 119:10–119:23 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 119:10–119:23 due to calling for
                                    speculation under Rule 602.

                                    Object to lines 119:10–119:23 due to designating
                                    incomplete testimony under Rule 106.

120        3        120     23      Object to lines 120:3–120:23 as to relevance under
                                    Rules 401 and 402.

122        25       123     3       Object to lines 122:25–123:3 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 122:25–123:3 due to calling for
                                    speculation under Rule 602.

133        11       134     1       Object to lines 133:11–134:1 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 133:11–134:1 due to calling for
                                    speculation under Rule 602.

                                    Object to lines 133:11–134:1 due to designating
                                    incomplete testimony under Rule 106.

135        24       137     16      Object to lines 135:24–137:16 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 135:24–137:16 due to calling for
                                    speculation under Rule 602.



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Page       Line     Page    Line    Objection
Start      Start    End     End
138        7        138     16      Object to lines 138:7–138:16 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 138:7–138:16 due to calling for
                                    speculation under Rule 602.

139        21       140     22      Object to lines 139:21–140:22 as to relevance under
                                    Rules 401 and 402.

141        5        141     12      Object to lines 141:5–141:12 as to relevance under
                                    Rules 401 and 402.

141        21       142     2       Object to lines 141:21–142:2 as to relevance under
                                    Rules 401 and 402.

142        14       142     18      Object to lines 142:14–142:18 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 142:14–142:18 due to calling for
                                    speculation under Rule 602.

                                    Object to lines 142:14–142:18 due to designating
                                    incomplete testimony under Rule 106.

143        20       143     23      Object to lines 143:20–143:23 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 143:20–143:23 due to calling for
                                    speculation under Rule 602.

143        24       144     2       Object to lines 143:24–144:2 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 143:24–144:2 due to calling for
                                    speculation under Rule 602.

144        7        144     25      Object to lines 144:7–144:25 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 144:7–144:25 due to calling for
                                    speculation under Rule 602.

145        4        145     5       Object to lines 145:4–145:5 as to relevance under
                                    Rules 401 and 402.

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Page       Line     Page    Line    Objection
Start      Start    End     End

145        6        145     7       Object to lines 145:6–145:7 as to relevance under
                                    Rules 401 and 402.

146        4        148     8       Object to lines 146:4–148:8 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 146:4–148:8 due to calling for
                                    speculation under Rule 602.

                                    Object to lines 146:4–148:8 due to designating
                                    incomplete testimony under Rule 106.

148        12       148     18      Object to lines 148:12–148:18 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 148:12–148:18 due to designating
                                    incomplete testimony under Rule 106.

149        23       151     3       Object to lines 149:23–151:3 as to relevance under
                                    Rules 401 and 402.

154        11       154     25      Object to lines 154:11–154:25 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 154:11–154:25 due to calling for
                                    speculation under Rule 602.

                                    Object to lines 154:11–154:25 due to designating
                                    incomplete testimony under Rule 106.

156        4        158     9       Object to lines 156:4–158:9 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 156:4–158:9 due to calling for
                                    speculation under Rule 602.

                                    Object to lines 156:4–158:9 due to designating
                                    incomplete testimony under Rule 106.

175        19       175     22      Object to lines 175:19–175:22 as to relevance under
                                    Rules 401 and 402.



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Page       Line     Page    Line    Objection
Start      Start    End     End
                                    Object to lines 175:19–175:22 due to designating
                                    incomplete testimony under Rule 106.

176        12       176     23      Object to lines 176:12–176:23 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 176:12–176:23 due to calling for
                                    speculation under Rule 602.

                                    Object to lines 176:12–176:23 due to designating
                                    incomplete testimony under Rule 106.

177        18       177     24      Object to lines 177:18–177:24 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 177:18–177:24 due to calling for
                                    speculation under Rule 602.

                                    Object to lines 177:18–177:24 due to designating
                                    incomplete testimony under Rule 106.

178        2        178     13      Object to lines 178:2–178:13 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 178:2–178:13 due to calling for
                                    speculation under Rule 602.

                                    Object to lines 178:2–178:13 due to designating
                                    incomplete testimony under Rule 106.

180        11       180     22      Object to lines 180:11–180:22 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 180:11–180:22 due to designating
                                    incomplete testimony under Rule 106.

190        6        190     10      Object to lines 190:6–190:10 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 190:6–190:10 due to designating
                                    incomplete testimony under Rule 106.

190        21       191     6       Object to lines 190:21–191:6 as to relevance under
                                    Rules 401 and 402.

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Page       Line     Page    Line    Objection
Start      Start    End     End

                                    Object to lines 190:21–191:6 due to designating
                                    incomplete testimony under Rule 106.

                                    Object to lines 190:21–191:6 pursuant to Rule 611 to
                                    protect witness from harassment, and outside the
                                    scope of Rule 610.

203        11       208     6       Object to lines 203:11–208:6 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 203:11–208:6 due to calling for
                                    speculation under Rule 602.

                                    Object to lines 203:11–208:6 due to designating
                                    incomplete testimony under Rule 106.

                                    Object to lines 203:11–208:6 pursuant to Rule 611 to
                                    protect witness from harassment, and outside the
                                    scope of Rule 610.

                                    Object to lines 203:11–208:6 based on inadmissible
                                    hearsay.

209        3        209     13      Object to lines 209:3–209:13 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 209:3–209:13 due to designating
                                    incomplete testimony under Rule 106.

210        9        210     19      Object to lines 210:9–210:19 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 210:9–210:19 due to designating
                                    incomplete testimony under Rule 106.
                                    Object to lines 210:9–210:19 pursuant to Rule 611 to
                                    protect witness from harassment, and outside the
                                    scope of Rule 610.

211        5        211     7       Object to lines 211:5–211:7 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 211:5–211:7 due to designating
                                    incomplete testimony under Rule 106.

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Page       Line     Page    Line    Objection
Start      Start    End     End

                                    Object to lines 211:5–211:7 pursuant to Rule 611 to
                                    protect witness from harassment, and outside the
                                    scope of Rule 610.

211        13       211     24      Object to lines 211:13–211:24 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 211:13–211:24 due to designating
                                    incomplete testimony under Rule 106.

                                    Object to lines 211:13–211:24 pursuant to Rule 611
                                    to protect witness from harassment, and outside the
                                    scope of Rule 610.

212        7        212     14      Object to lines 212:7–212:14 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 212:7–212:14 due to calling for
                                    speculation under Rule 602.

                                    Object to lines 212:7–212:14 due to designating
                                    incomplete testimony under Rule 106.

214        2        214     8       Object to lines 214:2–214:8 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 214:2–214:8 due to designating
                                    incomplete testimony under Rule 106.

214        9        214     9       Object to lines 214:9–214:9 as to relevance under
                                    Rules 401 and 402.

214        13       216     10      Object to lines 214:13–216:10 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 214:13–216:10 due to calling for
                                    speculation under Rule 602.

                                    Object to lines 214:13–216:10 due to designating
                                    incomplete testimony under Rule 106.




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Page       Line     Page    Line    Objection
Start      Start    End     End
                                    Object to lines 214:13–216:10 pursuant to Rule 611
                                    to protect witness from harassment, and outside the
                                    scope of Rule 610.

217        14       217     17      Object to lines 217:14–217:17 as to relevance under
                                    Rules 401 and 402.

224        24       225     19      Object to lines 224:24–225:19 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 224:24–225:19 pursuant to Rule 611
                                    to protect witness from harassment, and outside the
                                    scope of Rule 610.

228        6        228     22      Object to lines 228:6–228:22 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 228:6–228:22 due to designating
                                    incomplete testimony under Rule 106.

229        1        230     18      Object to lines 229:1–230:18 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 229:1–230:18 due to designating
                                    incomplete testimony under Rule 106.

                                    Object to lines 229:1–230:18 pursuant to Rule 611 to
                                    protect witness from harassment, and outside the
                                    scope of Rule 610.

230        24       231     25      Object to lines 230:24–231:25 as to relevance under
                                    Rules 401 and 402.

                                    Object to lines 230:24–231:25 due to designating
                                    incomplete testimony under Rule 106.

                                    Object to lines 230:24–231:25 pursuant to Rule 611
                                    to protect witness from harassment, and outside the
                                    scope of Rule 610.

232        25       233     6       Object to lines 232:25–233:6 as to relevance under
                                    Rules 401 and 402.



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 Page        Line       Page      Line     Objection
 Start       Start      End       End
                                           Object to lines 232:25–233:6 due to designating
                                           incomplete testimony under Rule 106.

 233         25         234       13       Object to lines 233:25–234:13 as to relevance under
                                           Rules 401 and 402.

                                           Object to lines 233:25–234:13 due to designating
                                           incomplete testimony under Rule 106.

 242         25         243       18       Object to lines 242:25–243:18 as to relevance under
                                           Rules 401 and 402.

                                           Object to lines 242:25–243:18 pursuant to Rule 611
                                           to protect witness from harassment, and outside the
                                           scope of Rule 610.

 246         8          246       13       Object to lines 246:8–246:13 as to relevance under
                                           Rules 401 and 402.

                                           Object to lines 246:8–246:13 pursuant to Rule 611 to
                                           protect witness from harassment, and outside the
                                           scope of Rule 610.

 253         25         254       1        Object to lines 253:25–254:1 as to relevance under
                                           Rules 401 and 402.



         WHEREFORE, Defendants respectfully request that this Court exclude Representative

Lundstrum’s testimony because it is irrelevant. If the Court determines her testimony is somehow

appropriate for trial, this Court should issue an order excluding the use of any testimony that is

inadmissible.




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                            Respectfully Submitted,

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